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EXHIBIT 5

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Sigrid §. McCawley, Esq.
E-mail: smecawley@bsfllp.com

April 7. 2016
Via E-MAIL

Laura A. Menninger, Hsq.

Jeffrey Pagliuca, Esq.

HApDDON, MORGAN AND FOREMAN, P.C.
150 East 10" Avenue

Denver, Colorado 80203

Re: Giufffre v. Maxwell
Case No. 15-cv-07433-RWS

Dear Ms. Menninger and Mr. Pagliuca,

We would like to schedule a meet and confer call regarding the following topics. I
estimate that the meet and confer will take 45 minutes. I am available today at 1:30 pm — 3:00
pm (EST) or 3:30 pm — 5:30 pm (EST) and tomorrow from 10:00 am — 4:00 pm (EST). The
following are the topics I would like to discuss.

1. The Court, at the hearing on March 17, 2016, granted Ms. Guiutire’s Motion to Compel
the production of documents from Defendant. To date, we have not received any _
additional document production from Defendant. As you are aware, Ms. Giuffre first
served her Requests for Production on October 27, 2015. We wrote to you on March 28,
2016 requesting that you produce documents in accordance with the Court’s Order by
April 6, 2016 which gave you twenty (20) days from the date of the Court’s ruling at the
hearing to produce documents. We would like to have a call today or tomorrow to meet
and confer on Defendant’s document production.

2. You have noticed Ms. Giuffre for deposition on May 3, 2016. We would also like to
discuss Defendant's identification and production of all documents to be used in Ms.
Giuffre’s deposition. As you are aware, Ms. Giuffre provided such materials in advance

of Defendant’s deposition.

3. Finally, we would like to discuss Defendant’s discovery collection procedures, including,
electronically stored information collection procedures and search terms that Defendant is

using to collect production documents.

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Letter to Laura Menninger, Esq.

April 7, 2016
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ScH!

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Sigrid S. McCawley
